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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SANDRA AVILES,

                         Plaintiff,
                                               19 Civ. 6342 (KPF) (KNF)
                  -v.-
                                                        ORDER
COMMISSIONER OF SOCIAL
SECURITY,

                         Defendant.

KATHERINE POLK FAILLA, District Judge:

     On October 9, 2020, Plaintiff filed a Motion for Attorney’s Fees and

supporting documentation (Dkt. #26-27). The Government is hereby

ORDERED to respond to Plaintiff’s motion on or before November 9, 2020.

     SO ORDERED.

Dated: October 14, 2020
       New York, New York

                                             KATHERINE POLK FAILLA
                                            United States District Judge
